                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

STEPHANIE GASCA, et al.,                              )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )       Case No. 17-cv-04149-SRB
                                                      )
ANNE PRECYTHE, Director of the Missouri               )
Department of Corrections, et al.,                    )
                                                      )
       Defendants.                                    )

                                             ORDER

       Before the Court is Defendants’ Motion and Supporting Suggestions for Stay Pending

Appeal. (Doc. #337.) This Court has inherent power and broad discretion to stay proceedings to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants. Landis v. North American Co., 299 U.S. 248, 254-55 (1936). The

Court finds that a stay is warranted here to promote judicial economy, to preserve the parties’

resources, and to receive the benefit of the Eighth Circuit’s decision on appeal. Any prejudice

caused by a stay is outweighed by these interests.

       Defendants’ motion to stay (Doc. #337) is therefore GRANTED and all proceedings in

this case are STAYED pending the resolution of Defendants’ appeal. The parties shall file a

joint status report regarding the appellate proceedings once every forty-five (45) days from the

date of this Order. In light of the stay, non-party Edward Moore’s pro se motion to reopen and

for reconsideration (Doc. #342) is DENIED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

                                                      /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH
Dated: January 5, 2021                                UNITED STATES DISTRICT JUDGE




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